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EXHIBIT 3

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STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF GENESEE

MEGAN HUBARTH,

Plaintiff,
Circuit Court NO.
15-105946-PH
v.
MICHAEL WATSON,
Defendant. DIGITALLY RECORDED

 

PERSONAL PROTECTION HEARING
(EXCERPT OF HEARING - TESTIMONY OF DET. FREEMAN ONLY)

BEFORE THE HONORABLE JUDITH A. FULLERTON, CIRCUIT JUDGE

Flint, Michigan - Thursday, February 16, 2016

APPEARANCES:

For the Plaintiff: Jodi Hemmingway (P-72918)
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Flint, MI 48502
(810) 237-1200

For the Defendant: Michael Watson
In Pro Per
9172 Chatwell Club Ln, Apt. 4
Davison, MI 48423

Transcribed By: Jackie L. White, CER 5647
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falls on the last act and threats of -- I don’t
remember exactly what it was, but basically making
comments about, you know, taking care of things and ~-
I remember -- the one thing I do remember is a curtain
falling on the final act and how, you know, how you'll
react to that.

Okay. And in your training and experience how did --
how did you perceive those to be threatening?

Based on my experience, I mean, you know, when people
make comments like that l mean generally, you know, we
have to take them seriously. That’s why I did contact
our City Attorney. Ran everything by her. Said, you
know, what do you think? And she agreed with me that
we do have enough PC to make the arrest.

And when you say PC you mean probable cause, correct?
Yes. Yep.

Okay. And -- and so just so we're clear when you're
reviewing those text messages you’re viewing them as
death threats potentially?

Yes.

All right. And did you then go out and interview or
speak with Mr. Watson as part of your investigation?

l did. Yes.

All right. And what was the nature of that

interaction?

